Case 8:14-cr-00064-E_K-TGW Document 532 Filed 09/19/16 Page 1 of 2 PageID 3867




                    UNITED STATES DISTRICT COURT
                     MIDDLE DISTRICT OF FLORIDA
                           TAMPA DIVISION,
 UNITED STATES OF AMERICA,

 v.                                        CASE NO. 8:14-CR-64-T-17TGW

 CARLOS VELASQUEZ-ROMAN .

 ___________________________/


                                           ORDER

        This cause is before the Court on:

        Dkt. 529        Motion to Travel

        The Court requests that Defendant Velasquez-Roman advise the Court of
 additional facts regarding Defendant’s Motion for permission to travel out of state for
 work (driving Defendant’s semi truck out of state) (Dkt. 529). Defendant Velasquez-
 Roman shall notify the Court of his current employer, the duties of Defendant’s current
 employment, and the circumstances of the projected end of Defendant’s current
 employment. In addition, Defendant Velasquez-Roman shall notify the Court for whom
 Defendant would be employed if permission were granted to Defendant Velasquez-
 Roman to drive his semi truck out of state, and the duties of Defendant’s future
 employment.


        Defendant Velasquez-Roman shall file a Supplement to Defendant’s Motion
 within seven days of the date of this Order. Accordingly it is


        ORDERED that Defendant Velasquez-Roman shall file a Supplement to
 Defendant’s Motion (Dkt. 529) within seven days of the date of this Order. The Clerk of
 Court shall provide a copy of this Order to Defendant Velasquez-Roman via U.S. Mail
 and electronic mail.
Case 8:14-cr-00064-E_K-TGW Document 532 Filed 09/19/16 Page 2 of 2 PageID 3868




 Case No. 8:14-CR-64-T-17TGW


       DONE and ORDERED in Chambers in Tampa, Florida on this 19th day of
 September, 2016.




 Copies to:
 All parties and counsel of record

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